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                   DECLARATION OF WALTER ESTIVER SALAZAR

I, Walter Estiver Salazar, hereby declare under penalty of perjury pursuant to 28 U.S.C. § 1746
that the following is true and correct.

   1. I make this declaration based on my own personal knowledge and if called to testify I could
      and would do so competently and truthfully to these matters.

   2. My name is Walter Estiver Salazar. I am 41 years old and from Venezuela. I came to the
      United States in 2023 to seek asylum. I left Venezuela and fear return there because
      government officials kidnapped and tortured me when I refused to follow the President’s
      order to shut down electricity in my town. The officials beat me, suffocated me, and
      eventually shot me. I barely survived.

   3. When I came to the U.S., I settled in Virginia. I entered ICE detention in November 2023
      after a conviction for driving under the influence, which I deeply regret. I have been
      detained at Farmville Detention Center in Virginia for about fifteen months. I got a lawyer
      from Amica Center for Immigrant Rights in Washington D.C. who represented me in my
      immigration case.

   4. The judge denied my asylum claim in August 2024. I appealed, but I decided to withdraw
      the appeal in December 2024 because I did not want to stay detained any longer. But ICE
      has not been able to deport me to Venezuela, so I am still detained three months later. My
      90-day custody review is coming up in the middle of March. With my lawyer’s help, I am
      collecting evidence to submit in support of my release.

   5. I heard that the U.S. government has started transferring Venezuelans with final removal
      orders to the military base at Guantánamo Bay, Cuba. I also heard the U.S. government is
      targeting people they think are criminals or gang members, even if they have no proof.

   6. I am afraid of being transferred to Guantánamo. I believe that I am at risk of being
      transferred because I have a final order of deportation and am from Venezuela. I also
      believe that I am going to be transferred to Guantánamo because the ICE officers have told
      many Venezuelans here that we will be sent somewhere else, including Guantánamo.

   7. On February 27, 2025, they closed my commissary account at Farmville. The same thing
      happened to several other Venezuelans with final orders who are detained with me. When
      they close your account, this means they are either deporting you or sending you to a
      different facility. I know this because I have seen it happen to other people.

   8. I do not want to be transferred to or detained at Guantánamo. I am afraid of what will
      happen to me when I get there. I heard that there is no ability to contact lawyers or family
      from Guantánamo. I want access to my attorney to help me get out of detention.

   9. Everything in this declaration is true and correct to the best of my knowledge and
      recollection. I gave this declaration in Spanish to my attorneys, who wrote it down in
      English.
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Executed on the 27th of February, 2025 in Farmville, Virginia




 Walter Estiver Salazar
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                 ATTESTATION AND CERTIFICATE OF TRANSLATION

       I, Ian Austin Rose, certify that I am fluent in both English and Spanish. On February

27th, 2025, I personally spoke with Walter Estiver Salazar and translated his statements from

Spanish into English faithfully and accurately, over the phone. Mr. Salazar affirmed that the

information in the above declaration is true and accurate.

       I declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the foregoing is true

and correct.



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